                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                 DOCKET NO. 3:11cr373-FDW

UNITED STATES OF AMERICA                         )
                                                 )             PRELIMINARY ORDER
               v.                                )               OF FORFEITURE
                                                 )
(1) KHALED FADEL IBRAHIM,                        )


       The Bill of Indictment in this case charged Defendant with a violation of 18 U.S.C. '

371. The Indictment also provided notice that property was subject to forfeiture pursuant to 18

U.S.C. '' 981 and 2461, and specifically identified proceeds, specific assets, and a forfeiture

money judgment as subject to forfeiture.

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Bill of Indictment; and was adjudged guilty of the offense charged in that count. In the plea

agreement and pursuant to statements at the plea hearing, Defendant has agreed to forfeit specific

property as described below. For purposes of Fed. R. Crim. P. 32.2 and based on the Indictment

and plea of guilty the Government has established required nexus and the amount of the money

judgment.

       It is therefore ORDERED:

       1.      Based upon Defendant=s plea of guilty, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for

disposition according to law, provided, however, that such forfeiture is subject to any and all

third party claims and interests, pending final adjudication herein:

       Approximately $1,424 in United States funds;

       One note secured by a deed of trust on 1712 Russell Avenue, Charlotte, NC; and



   Case 3:11-cr-00373-FDW-SCR              Document 374        Filed 10/11/13    Page 1 of 3
       One note secured by a deed of trust on 3514 Rogers Street, Charlotte, NC.

       2.      Based upon 18 U.S.C. ' 982, this Order shall constitute a money judgment for the

following:

       A monetary judgment in the amount of $15,000,00 which represents the amount of
       proceeds obtained, directly and indirectly from the offenses alleged in the Bill of
       Information and reasonably foreseeable to the Defendant.

       3.      Pursuant to 21 U.S.C. ' 853(n)(1), the government shall publish notice of this

order; notice of its intent to dispose of the property in such manner as the Attorney General may

direct; and notice that any person, other than the Defendant, having or claiming a legal interest in

any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner=s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner=s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner=s claim and the relief sought. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

       4.      Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. ' 853(n).




   Case 3:11-cr-00373-FDW-SCR               Document 374           Filed 10/11/13    Page 2 of 3
       5.      The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

Order of Forfeiture as to substitute property to satisfy the money judgment in whole or in part.

                                               Signed: October 11, 2013




   Case 3:11-cr-00373-FDW-SCR             Document 374           Filed 10/11/13   Page 3 of 3
